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                              UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA



    v.

                                                   Case No. 24-mj-00109-MAU

 CHARLES ANOTHONY ESPINOSA



     Defendant.




  JOINT MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME


         NOW COMES the Defendant, Charles Anthony Espinosa, by and through counsel, Paul

Garrity, and the United States of America, by and through its attorney, AUSA Victoria Sheets,

jointly respectfully move this Court to continue the status conference, which is currently scheduled

for November 12, 2024 for sixty days.

   In support of this motion, the Defendant states that the defendant has a Status Conference in

this Court on November 12, 2024 at 1:00 p.m. However, the undersigned counsel requires

additional time to review the discovery and to review the discovery with the Defendant.

   Further, the undersigned counsel has been informed by Assistant United States Attorney

Victoria Sheets that additional discovery will be provided to the undersigned counsel in the near

future. The undersigned counsel will require time to review this anticipated additional discovery.

The undersigned counsel has discussed this continuance request with AUSA Victoria Sheets and

she assented to this joint motion for a continuance.
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       WHEREFORE, the Defendant, Charles Anthony Espinosa, respectfully requests that this

Honorable Court grant this continuance and exclude time in the interests of justice. Specifically,

the Defendant, along with the United States, respectfully requests that this Court exclude the time

from November 12, 2024, until the next status hearing set by this Court, within which the trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends

of justice served by taking such actions outweigh the best interest of the public and the defendant

in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv), and failure to grant such a continuance would result in a miscarriage of justice.


                                              Respectfully submitted
                                              Charles Espinosa
                                              By his Attorney,


Date: November 7, 2024                        /s/ Paul Garrity
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                                              /s/Victoria A. Sheets
                                              Assistant United States Attorney
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                                              District of Columbia, DC 20530
                                              (202) 252-7566
                                              Victoria. sheets@usdoj.gov



                                     CERTIFICATE OF SERVICE

      I, Paul J. Garrity, herein certify that on this 7th day of November 2024, a copy of the
foregoing was served upon all Parties listed on the Electronic Case Filing (ECF) System and was
mailed, postage pre-paid to Charles Anthony Espinosa.
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Date: November 7, 2024            /s/ Paul Garrity
                                  Paul J. Garrity
